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 7
                                 UNITED STATES DISTRICT COURT
 8                             NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
 9
       KATHLEEN WILKINSON, NANCY                            Case No. _________________
10     URBANCZYK, and LAURA PERKINSON,
       individually and on behalf of all others
11     similarly situated,                                  CLASS ACTION COMPLAINT
12                                Plaintiffs,
                                                            JURY DEMAND
13               v.
14     FACEBOOK, INC., a Delaware corporation,
15                                Defendant.
16

17          Plaintiffs Kathleen Wilkinson, Nancy Urbanczyk, and Laura Perkinson, individually and

18   on behalf of a proposed class, bring this Class Action Complaint against Facebook, Inc., seeking

19   restitution, damages, an injunction, and other appropriate relief from Facebook’s ongoing

20   participation in an illegal internet gambling enterprise. Plaintiffs allege as follows upon personal

21   knowledge as to themselves and their own acts and experiences, and as to all other matters, upon

22   information and belief.

23                                              INTRODUCTION

24          1.        Over the last decade, the world’s leading slot machine makers—companies like

25   International Game Technology, Scientific Games Corporation, and Aristocrat Leisure—have

26   teamed up with American technology companies to develop a new product line: social casinos.

27          2.        Social casinos are apps, playable from smartphones, tablets, and internet

28

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 1   browsers, that make the “authentic Vegas-style1” experience of slot machine gambling available
 2   to consumers anywhere and anytime. See Figure 1 (Screenshot of DoubleDown Casino
 3   Gameplay). By moving their casino games directly onto the phones and computers of players,
 4   and by leveraging an innocuous-sounding “free-to-play” model,2 social casino companies, along
 5   with Facebook, Google, and Apple (the “Platforms”), have found a way to smuggle slot
 6   machines into the homes of consumers nationwide, twenty-four hours a day and three-hundred-
 7   sixty-five days a year.
 8          3.      Just like Las Vegas slot machines, social casinos allow users to purchase virtual
 9   “chips” in exchange for real money, and then to gamble those chips at slot machine games in
10   hopes of winning still more chips to keep gambling. In DoubleDown Casino, for example,
11   players purchase “chip packages” costing up to $499.99. See Figure 2 (Screenshot of “Popular”
12   Chip Packages in DoubleDown Casino). But unlike Las Vegas slots, social casinos do not allow
13   players to cash out their chips. Instead, purchased chips and won chips alike can be used only for
14   more slot machine “spinning.”
15                       Figure 1                                           Figure 2
16

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26   1
              Form F-1/A DoubleDown Interactive Co., Ltd.,
     https://sec.report/Document/0001193125-20-183157/.
27   2        This term is a misnomer. It refers to a business model by which the initial download of
28   the game is free, but companies reap huge profits by selling “in-game” items (known generally
     as “in-app purchases”).

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 1

 2          4.      Nevertheless, like Las Vegas slots, social casinos are extraordinarily profitable
 3   and highly addictive. Social casinos are so lucrative because they mix the addictive aspects of
 4   traditional slot machines with the power of the Platforms, including Defendant Facebook, to
 5   leverage big data and social network pressures to identify, target, and exploit consumers prone to
 6   addictive behaviors. 3
 7          5.      Simply put, the social casino apps do not, and cannot, operate and profit at such a
 8   high level from these illegal games on their own. Their business of targeting, retaining, and
 9   collecting losses from addicted gamblers is inextricably entwined with the Platforms. Not only
10   do the Platforms retain full control over allowing social casinos into their stores, and their
11   distribution and promotion therein, but they also share directly in a substantial portion of the
12   gamblers’ losses, which are collected and controlled by the Platforms themselves.
13          6.      Because the Platforms are the centers for distribution and payment, social casinos
14   gain a critical partner to retain high-spending users and collect player data, a trustworthy
15   marketplace to conduct payment transactions, and the technological means to update their apps
16   with targeted new content designed to keep addicted players spending money.
17          7.      For example, in 2019, PBS NewsHour reported:
18
            [w]e obtained leaked company documents that show how [a social casino’s] VIP system
19          tracks players by their Facebook IDs, closely monitors their game play, and then prods
            people to keep them spending. They refer to their VIPs as whales, a term taken from the
20          casino industry to describe big spenders.
21          Social casinos now use behavioral analysis software to quickly identify people who are
            likely to become big spenders. Behaviors like increasing your bet, or playing frequently,
22          are signals to the companies, and they target these players with heavy marketing, and
            label them, proto-whales…
23
            Facebook's website shows how it tracks people online, and can predict who is likely to
24          spend big by analyzing user data. Facebook helps social casinos find those potential
            whales. It charges a premium to nudge players to spend more, to target people whose
25          online behavior might be a sign of addiction. 4
26

27   3     See, e.g., How social casinos leverage Facebook user data to target vulnerable gamblers,
     PBS NEWS HOUR, youtube.com/watch?v=FFtkFLNJZfM.
28   4
           Id.

     CLASS ACTION COMPLAINT                            3                      Case No. __________________
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 1          8.      Last year alone, consumers purchased and gambled away an estimated $6 billion
 2   in social casino virtual chips. 5 Indeed, of the top twelve grossing apps available on Defendant
 3   Facebook, nine are social casinos. See Figure 3 (Screenshot of “Top Grossing” Facebook Apps).
 4                                                 Figure 3
 5

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16          9.      By utilizing Facebook for distribution and payment processing, the social casinos
17   entered into a mutually beneficial business partnership. In exchange for distributing the casino
18   games, providing them valuable data and insight about their players, and collecting money from
19   consumers, Facebook (and the other Platforms) take a 30 percent commission off of every
20   wager, earning them billions in revenue. By comparison, the “house” at a traditional casino only
21   takes 1 to 15 percent, while also taking on significant risk of loss in its operation. Facebook’s 30
22   percent rake, on the other hand, is guaranteed for its ability to act as a casino “host” and bankroll.
23          10.     The result (and intent) of this dangerous partnership is that consumers become
24   addicted to social casino apps, maxing out their credit cards with purchases amounting to tens or
25   even hundreds of thousands of dollars. Consumers addicted to social casinos suffer a variety of
26   non-financial damages ranging from depression to divorce to attempted suicide.
27
     5      SciPlay Net Income Skyrockets 127 Percent, as Social Gaming Embraced by Americans
28   Sheltered at Home, CASINO.ORG, https://www.casino.org/news/sciplay-net-income-skyrockets-
     127-percent-as-social-gaming-embraced/.
     CLASS ACTION COMPLAINT                            4                      Case No. __________________
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 1           11.     These devastating consequences are not hypothetical or hyperbole: below are
 2   excerpts of sworn testimony from individuals describing their experiences with three different
 3   social casinos at issue in this case:
 4              •   DoubleDown Casino: “I was drawn to DoubleDown because I could play
                    the same games that I played when I went to real casinos. Overall, I
 5                  estimate that I have spent over $40,000 on chips in DoubleDown Casino. I
                    am addicted to DoubleDown Casino . . . I knew being on DoubleDown
 6                  Casino every day for hours was a problem, but I couldn’t seem to stop. I
                    believe that DoubleDown is taking advantage of people’s addictions. They
 7                  know that gambling is addictive, and they act exactly like a physical casino
                    that pays out money. I feel alone and embarrassed about spending money to
 8                  do something that only feeds my addiction. DoubleDown Casino consumes
                    you, and makes you feel like you always have to go play. I feel guilty
 9                  because I’ve spent money on DoubleDown that I’ve needed to pay bills or
                    buy food.” Exhibit 1, Declaration of Willa Moore [emphasis added].
10
                •   DoubleDown Casino: “I believe I have spent close to $25,000 on
11                  DoubleDown Casino. I would buy the chips with a credit card which I
                    couldn’t pay in-full, so there’s interest on top of that too . . . I was a well-
12                  respected, active member of my community who owned my own business
                    for 36 years. But when I retired, and my fellow started having health
13                  problems, DoubleDown Casino made me fall into the trap of escape and
                    adrenaline rush to cope with all my other responsibilities. When I won, it
14                  was just great. When I lost, and started buying more and more chips, I felt
                    lower than pond scum. I was sick to my stomach, felt like a total loser,
15                  wondered about suicide (although I would never leave my partner), could
                    not sleep, had anxiety attacks with a rushing heart, and couldn’t eat. I just
16                  couldn’t understand how I could let it get so out of control. It was as if it
                    had a power over me that I couldn’t break. I couldn’t stop.” Exhibit 2,
17                  Declaration of Jan Saari [emphasis added].
                •   Jackpot Party Casino: “Overall, I believe that I have spent between
18                  $10,000-$20,000 playing Jackpot Party Casino. I was addicted to Jackpot
                    Party Casino and I hate that . . . This kind of loss put a huge strain on my
19                  ability to even buy food . . . I believe Jackpot Party Casino had been taking
                    advantage of my addiction . . . This game hurt me and the worst part was
20                  that when my husband was alive, he would say, ‘You’re not spending
                    money on there are you?’ and I lied. I hate that I have to live with that
21                  now.” Exhibit 3, Declaration of Laura Perkinson [emphasis added].
22              •   Jackpot Party Casino: “I believe that I’ve spent at least $30,000 on
                    Jackpot Party Casino . . . I am going through a divorce right now, in part
23                  because of how much money I spent on Jackpot Party . . . Scientific Games
                    will provide incentives to their top spenders so that they continue to spend.
24                  I have received Christmas gifts two times. They have sent me a robe, oils,
                    phone charger, bath bombs, a blanket, and more. I know that they have sent
25                  other players flowers and candies . . . This game has changed my way of
                    thinking and caring. I never thought I would get addicted to anything
26                  except cigarettes, but this has taken too much of my life away. I don’t
                    know how my life would be different without this game, but I know that it
27                  would be better and I know that I would be much better off financially . . . I
                    wish it didn’t exist.” Exhibit 4, Declaration of Donna Reed [emphasis
28                  added].

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                •    High 5 Casino: “I have spent at least $10,000 on coins in High 5 Casino . .
 1                   . I believe I am addicted to High 5 Casino . . . I have tried to quit but I
                     believe three weeks is the longest amount of time I’ve ever been able to
 2                   stop . . . Sometimes I feel guilty about playing High 5 Casino and spending
                     so much money. My husband does not know I have spent money on it. My
 3                   grandkids will sometimes ask for money and I can’t give it to them because
                     I have to save it for this game.” Exhibit 5, Declaration of Aida Glover
 4                   [emphasis added].
 5          12.      Unsurprisingly, social casinos are illegal under many states’ gambling laws.
 6          13.      As the Ninth Circuit held in Kater v. Churchill Downs Inc., 886 F.3d 784, 785
 7   (9th Cir. 2018):
 8                In this appeal, we consider whether the virtual game platform “Big Fish
                  Casino” constitutes illegal gambling under Washington law. Defendant–
 9                Appellee Churchill Downs, the game’s owner and operator, has made
                  millions of dollars off of Big Fish Casino. However, despite collecting
10                millions in revenue, Churchill Downs, like Captain Renault in Casablanca,
                  purports to be shocked—shocked!—to find that Big Fish Casino could
11                constitute illegal gambling. We are not. We therefore reverse the district
                  court and hold that because Big Fish Casino’s virtual chips are a “thing of
12                value,” Big Fish Casino constitutes illegal gambling under Washington law.
13

14          14.      As an instructive example, DoubleDown Casino is illegal both in Washington and
15   here in California (where the Platforms, including Defendant Facebook, host it and collect their
16   30% rake). This year, consumers will purchase approximately $300 million worth of virtual
17   casino chips in DoubleDown Casino. That $300 million will be divided up approximately as
18   follows: $170 million to DoubleDown; $30 million to International Game Technology (“IGT”)
19   (a multinational slot machine manufacturer that licenses slot machine game intellectual property
20   to DoubleDown); and—as particularly relevant here—the remaining $100 million to Facebook
21   and the other Platforms (for hosting the app, driving vulnerable consumers to it, and processing
22   the payments for those consumers’ virtual chip purchases).
23          15.      In other words, despite knowing that DoubleDown Casino is illegal, Facebook
24   and the other Platforms continue to maintain a sizable (30%) financial interest by hosting the
25   game, driving customers to it, and acting as the bank.
26          16.      As such, DoubleDown, Facebook, and the other Platforms are all liable as co-
27   conspirators to an illegal gambling enterprise. Moreover, DoubleDown Casino is just one of
28   more than fifty social casino apps (the “Illegal Slots”) that the Platforms illegally host and profit

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 1   from.
 2           17.    Consequently, Facebook and the other Platforms—alongside the Illegal Slot
 3   companies—are liable as co-conspirators to an illegal gambling conspiracy.
 4           18.    Defendant Facebook, for its part, is a direct participant in an informal association
 5   and enterprise of individuals and entities with the explicit purpose of knowingly devising and
 6   operating an online gambling scheme to exploit consumers and reap billions in profits (the
 7   “Social Casino Enterprise”).
 8           19.    This ongoing Enterprise necessarily promotes the success of each of its members:
 9   Social casino operators, like DoubleDown, need Platforms like Facebook, Apple, and Google, to
10   access consumers, host their games, and process payments. The Platforms, for their part, need
11   developers like DoubleDown to publish profit-driven and addictive applications on their
12   platforms to generate massive revenue streams.
13           20.    Through this case, Plaintiffs seek to force Facebook to stop participating in, and
14   to return to consumers the money it has illegally profited from, the Social Casino Enterprise.
15           21.    Plaintiffs, on behalf of the putative Class, bring claims for damages and for
16   injunctive relief under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §
17   1961, et seq. (“RICO”), and California’s Unfair Competition Law, Business and Professions
18   Code § 17200, et seq. (“UCL”).
19                                               PARTIES
20           22.    Plaintiff Kathleen Wilkinson is a natural person and a citizen of the State of
21   Montana.
22           23.    Plaintiff Nancy Urbanczyk is a natural person and a citizen of the State of Illinois.
23           24.    Plaintiff Laura Perkinson is a natural person and a citizen of the State of
24   Washington.
25           25.    Defendant Facebook, Inc. is a corporation existing under the laws of the State of
26   Delaware with its principal place of business located at 1 Hacker Way, Menlo Park, California
27   94025. Facebook regularly conducts and transacts business in this District and throughout the
28   United States. Facebook owns and operates the Facebook App Center.

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 1                                      JURISDICTION AND VENUE
 2          26.        Federal subject-matter jurisdiction exists under 28 U.S.C. § 1332(d)(2) because
 3   (a) at least one member of the proposed class is a citizen of a state different from Defendant, (b)
 4   the amount in controversy exceeds $5,000,000, exclusive of interests and costs, and (c) none of
 5   the exceptions under that subsection apply to this action.
 6          27.        The Court has personal jurisdiction over Defendant because Defendant is
 7   headquartered in this District and Defendant’s alleged wrongful conduct occurred in and
 8   emanated from this District.
 9          28.        Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial
10   part of the events giving rise to Plaintiffs’ claims occurred in and emanated from this District.
11                                       GENERAL ALLEGATIONS
12   I.     Social Casinos Are Illegal Slot Machines Under California Law .
13          29.        Slot machines have long been outlawed in California.
14          30.        California law recognizes that a device can be an illegal slot machine without
15   offering users the opportunity to win money.
16          31.        In fact, if a gaming machine has the look and feel of a slot machine, accepts real
17   money for gameplay, and rewards a winning spin with an “additional chance or right to use the
18   slot machine or device,” the device is an illegal slot machine.
19          32.        Consequently, social casinos, as described herein, are illegal slot machines under
20   California law.
21          33.        California gambling law is, on this point, consistent with the laws of many other
22   states—including Washington. In Kater, for example, the Ninth Circuit held that social casinos
23   are illegal under Washington law because, while users cannot win money, social casino chips are
24   “things of value” because they can be purchased for money, are awarded as prizes in social
25   casino slot machines, and then can be used to allow players to keep spinning social casino slot
26   machines. After two years of subsequent litigation, the parties in Kater reached a $155 million
27

28

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 1   nationwide class action settlement. The settlement was finally approved on February 11, 2021.6
 2          34.     California aggressively regulates all forms of gambling. One reason it does so is
 3   to prevent consumers from being cheated by professional gambling operations.
 4          35.     Because social casinos have previously operated as if they were not subject to
 5   gambling regulations, they do not comply with any of the regulations that govern the operation
 6   of slot machines.
 7          36.     Notably, while any legitimately operated slot machine must randomize its results,
 8   social casinos do not randomize their results. Instead, social casinos tailor “wins” and “losses” in
 9   such a way as to maximize addiction (and, in turn, revenues). As the CEO of DoubleDown
10   Casino once explained, “[o]ur games aren’t built to be bulletproof like you’d need to be if you’re
11   a real gambling company. We can do things to make our games more [fun] that if you were an
12   operator in Vegas you’d go to jail for, because we change the odds just for fun.”7
13          37.     In other words, social casinos are not just illegal under California law, but they
14   would not be legal slot machines under any state law as they cheat players out of a legitimately
15   randomized slot machine experience. Not only can players never actually win money, but their
16   financial losses are maximized by deceptive gameplay tweaks that would never be allowed in a
17   legitimate slot machine.
18   II.    Facebook Hosts and Facilitates At Least Fifty Illegal Social Casinos.
19          38.     The Platforms, including Defendant Facebook, have directly assisted in creating
20   the unregulated market of virtual casino games from the outset of the industry.
21          39.     Before gaining access to these social media platforms, the Illegal Slots used
22

23   6       Settlements in two related cases were also finally approved in February 2021. Three more
     related cases are being litigated in Washington, against the owners and operators of certain social
24   casino games. See Wilson v. Huuuge, Inc., No. 3:18-cv-05276, 2018 WL 5921019 (W.D. Wash.
     Nov. 13, 2018) (settled); Wilson v. Playtika, Ltd., 349 F. Supp. 3d 1028, 1041 (W.D. Wash. Nov.
25   20, 2018) (settled); Fife v. Sci. Games Corp., No. 2:18-CV-00565-RBL, 2018 WL 6620485, at
     *4 (W.D. Wash. Dec. 18, 2018) (in litigation); and Wilson v. PTT, LLC, 351 F. Supp. 3d 1325,
26   1337 (W.D. Wash. Dec. 14, 2018) (same); Benson v. Double Down Interactive, LLC, 798 F.
     App’x 117 (9th Cir. 2020) (same).
27   7       Gambling giant IGT buying Double Down for $500M, moving into Facebook games,
28   GEEK WIRE, https://www.geekwire.com/2012/gambling-giant-igt-buying-doubledown-500m-
     moving-facebook-games/ [emphasis added].

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 1   methods like loyalty cards to track data on how much gamblers spent, how frequently they
 2   played, or how often they bet. The Platform partnerships upgraded their business model to an in-
 3   app payment system and provided additional user data which skyrocketed revenue by providing
 4   them with access to a whole new market of consumers.
 5           40.      The core marketing for the Illegal Slots is accomplished in concert with the
 6   Platforms, and their systems are inextricably linked. DoubleDown described this very setup in a
 7   public filing:
 8
             Our games are distributed through several main platform providers, including
 9           Apple, Facebook, Google, and Amazon, which also provide us valuable
             information and data, such as the rankings of our games. Substantially all of our
10           revenue is generated by players using those platforms. Consequently, our
             expansion and prospects depend on our continued relationships with these
11           providers.
             ….
12
             We focus our marketing efforts on acquiring new players and retaining existing
13           players. We acquire players both organically and through paid channels. Our paid
             marketing includes performance marketing and dynamic media buying on
14           Facebook, Google, and other channels such as mobile ad networks. Underlying
             our paid marketing efforts are our data analytics that allow us to estimate the
15           expected value of a player and adjust our user acquisition spend to a targeted
             payback period. Our broad capabilities in promotions allow us to tailor
16           promotional activity around new releases, execute differentiated multi-channel
             campaigns, and reach players with preferred creative content.
17           ….
18           Our player retention marketing includes advertising on Facebook as well as
             outreach through email, push notifications, and social media posts on channels
19           such as Facebook, Instagram, and Pinterest. Our data and analytics also inform
             our retention marketing efforts. Campaigns are specially designed for each
20           channel based upon player preferences for dimensions such as time of day and
             creative content. We consistently monitor marketing results and return on
21           investment, replacing ineffective marketing tactics to optimize and improve
             channel performance.
22           ….
23           We employ a rigorous, data-driven approach to player lifecycle management
             from user acquisition to ongoing engagement and monetization. We use
24           internally-developed analytic tools to segment and target players and to
             optimize user acquisition spend across multiple channels.
25           ….
26           We continuously gather and analyze detailed customer play behavior and
             assess this data in relation to our judgments used for revenue recognition. 8
27
     8
28            Form F-1/A DoubleDown Interactive Co., Ltd.,
     https://sec.report/Document/0001193125-20-183157/.

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 1           41.      By moving to online platforms for marketing, distribution, and payment
 2   processing, Defendant Facebook entered into a mutually beneficial business partnership with the
 3   Illegal Slots. In exchange for pushing and distributing the social casino apps and collecting
 4   money from consumers, Facebook and the other Platforms take a 30 percent commission off of
 5   every in-app purchase, earning them billions in revenue.
 6           42.      The Platforms, through their app review process, are keenly aware of the illegal
 7   and deceptive nature of the Illegal Slots. Likewise, because they act as the “bank” for the Illegal
 8   Slots, the Platforms are entirely aware that some consumers spend hundreds of thousands on the
 9   Illegal Slots.
10           43.      Furthermore, on information and belief, in the wake of the Kater decision, the
11   Platforms did not remove any social casinos from their offerings and conferred with each other at
12   that time, jointly deciding that they would each continue to offer illegal social casino games.
13           44.      At all relevant times, Facebook and the Platforms have known of the unlawful
14   nature of the Illegal Slots and nonetheless have subjected the general public to those risks in
15   order to maximize profits at the expense of the public’s health and welfare.
16           A.       The Illegal Slots
17           45.      Each of the following fifty social casinos offered by Facebook (together the
18   “Illegal Slots”) is an illegal slot machine under California law.9
19                                            Figure 4 – The Illegal Slots
             #            Game Title                                Facebook URL
20          1      DoubleDown Casino              https://apps.facebook.com/doubledowncasino/
21          2      Slotomania Slot Machines      https://apps.facebook.com/slotomania/
            3      Jackpot Party Casino Slots    https://apps.facebook.com/jackpotpartycasino/
22
            4      House of Fun - Slots          https://apps.facebook.com/houseoffun/
23
            5      DoubleU Casino                https://apps.facebook.com/doubleucasino/
24          6      High 5 Casino Real Slots      https://apps.facebook.com/highfivecasino
25          7      Heart of Vegas                https://apps.facebook.com/heart_of_vegas
26   9       For the Court’s convenience, an iPad containing Apple-based versions of the Illegal Slots
27   will be lodged with the Court as Exhibit 6. Upon request from Facebook’s appearing counsel, a
     copy of the iPad will be produced to Facebook. For the purposes of the claims alleged here, the
28   Apple-based versions of the Illegal Slot games are materially indistinguishable from the
     Facebook-based versions.

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           8    Caesars Slots               https://apps.facebook.com/caesars/
 1
           9    Hit It Rich! Casino Slots   https://apps.facebook.com/hititrich/
 2         10 myVEGAS Slots                 https://apps.facebook.com/playmyvegas
 3         11 GSN Casino                    https://apps.facebook.com/mesmogames/
           12 Rock N’ Cash Casino Slots     https://apps.facebook.com/rockncash/
 4
           13 Huuuge Casino                 https://apps.facebook.com/1672695549623058/
 5
           14 Old Vegas Slots               https://apps.facebook.com/oldvegasslots/
 6         15 Take5 Free Slots              https://apps.facebook.com/takefiveslots/
 7         16 Quick Hit Slots               https://apps.facebook.com/quickhitslots/
           17 Vegas Downtown Slots &
 8                                          https://apps.facebook.com/vegas_downtown_slots
              Words
           18 Diamond Sky Casino            https://apps.facebook.com/diamondskycasino
 9
           19 Gold Fish Casino Slots        https://apps.facebook.com/goldfishcasinoslots/
10         20 Billionaire Casino            https://apps.facebook.com/657457464407450/
11         21 Slots - Wizard of Oz          https://apps.facebook.com/wizardofozslots/
           22 Hot Shot Casino Slots         https://apps.facebook.com/hotshotcasino/
12
           23 Scatter Slots                 https://apps.facebook.com/scatterslots/
13         24 Jackpotjoy Slots              https://apps.facebook.com/jackpotjoyslots/
14         25 Real Casino - Free Slots      https://apps.facebook.com/realtexasholdem/
15         26 Infinity Slots                https://apps.facebook.com/infinityslots/
           27 Let's Vegas Casino-Slot
16                                          https://apps.facebook.com/letsvegas/
              Roulette
           28 OMG! Fortune FREE Slots       https://apps.facebook.com/omgfortune/
17
           29 Gold Party Casino - Free      https://apps.facebook.com/goldpartycasino/
18            Slots
           30 Vegas Live Slots              https://apps.facebook.com/vegasliveslots/
19         31 my KONAMI Slots               https://apps.facebook.com/mykonamislots/
20         32 Spin Vegas Slots              https://apps.facebook.com/spinvegasslots
           33 Cashman Casino                https://apps.facebook.com/cashman_casino
21
           34 Baba WILD Slots & Casino      https://apps.facebook.com/babacasino/
22         35 MONOPOLY Slots!               https://apps.facebook.com/monopoly-slots/
23         36 Slotica Casino - Free Slots   https://apps.facebook.com/slotica_slots/

24         37 Mirrorball Slots              https://apps.facebook.com/mirrorballslots/
           38 Slots Era                     https://apps.facebook.com/slotsera/
25
           39 CasinoStar - Free Slots       https://apps.facebook.com/casinostar
26         40 Slots - Classic Vegas         https://apps.facebook.com/classic-vegas/
              Casino
27         41 Lucky Time Slots              https://apps.facebook.com/luckytimeslots/
28         42 Vegas Star Casino - Free      https://apps.facebook.com/vegasstarcasino
              Slots

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            43 Willy Wonka Slots Free            https://apps.facebook.com/wonkaslots/
 1             Casino
            44 DoubleHit Casino - Free           https://apps.facebook.com/doublehitcasino/
 2             Slots
            45 Winning Slots                     https://apps.facebook.com/winningslots/
 3
            46 Our Slots                         https://apps.facebook.com/our-slots/
 4          47 Gambino Slots                     https://apps.facebook.com/gambino-slots/
 5          48 Slots Farm                        https://apps.facebook.com/slots_farm/
 6          49 Blazing 7s Slots                  https://apps.facebook.com/blazingsevensslots/
            50 VegasTower Casino - Free          https://apps.facebook.com/vegastowercasino/
 7             Slots
 8

 9          46.     Most or all of the Illegal Slots are also hosted and promoted by the other Platform

10   members of the Social Casino Enterprise: Apple and Google.

11          B.      Facebook’s Facilitation, Promotion, and Control Over the Illegal Slots

12          47.     Facebook, for its part, routinely facilitates the success of social casinos by

13   counseling the app developers through the app launch process and providing them with resources

14   and business tools necessary to maximize the platform’s powerful social features. 10

15          48.     Facebook Products, such as App Ads (targets lookalike audiences to increase

16   engagement), App Invite (solicits new players via Game Requests), Facebook Analytics for Apps

17   (tracks the time spent between installation and purchase and devises strategies to turn out higher

18   profits), Facebook login (facilitates easy, familiar sign-up), and Sharing (creates viral social

19   distribution), all enable the Illegal Slots to acquire new users and retain high-spenders. Social

20   features keep players engaged longer, which in turn drives higher and more stable

21   monetization.11

22          49.     By way of example, International Game Technology cited the success of

23   Facebook’s distribution channel as one of its main reasons for acquiring DoubleDown

24   Interactive, of “DoubleDown Casino” fame, for $500 million in 2012.12

25   10     Products, Facebook for Developers, https://developers.facebook.com/products.
26   11
              Form F-1/A DoubleDown Interactive Co., Ltd.,
     https://sec.report/Document/0001193125-20-183157/.
27   12       International Game Technology to Acquire Social Gaming Company Double Down
28   Interactive, PRNewswire, https://www.prnewswire.com/news-releases/international-game-
     technology-to-acquire-social-gaming-company-double-down-interactive-137209833.html.

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 1          50.     Millions of social casino players access their preferred Illegal Slot through
 2   Facebook login.13 Upon login, Facebook sends targeted ads offering in-game rewards to users
 3   who invite their Facebook friends to also play the Illegal Slots. In many Illegal Slots, the more
 4   players a user brings to the game, the more virtual chips they can earn. Users can then compete
 5   in “tournaments” online with friends, driving increased chip sales. Meanwhile, the Illegal Slot
 6   companies and Facebook monitor the game activity and use the collected data to increase user
 7   spending.14 This access to data is critical for the developers: Since all payment processing occurs
 8   through third-party platforms, the Illegal Slot companies have limited access to personal user
 9   data unless players login through Facebook or otherwise sign up for loyalty programs.15
10          51.     Because the Illegal Slots depend on the spending of a small targeted audience, the
11   Illegal Slot companies and Platforms work together to target and exploit high-spending users, or
12   “whales,” as Illegal Slot companies like DoubleDown refer to their top-spenders.16
13          52.     The data that the Illegal Slot companies and the Platforms collect on monetization
14   necessarily contributes to the structure and success of the Social Casino Enterprise.17
15          53.     Facebook App Ads allow Illegal Slot companies to target high spending users and
16   activate non-spending users.18
17          54.     Prior to being published in the Facebook App Center, developers must submit
18   their app for review. In this process, Facebook examines whether the app violates any company
19   policies and demands that apps comply with all relevant laws within the jurisdiction where the
20

21
     13      See, e.g., Facebook for Developers, Success Stories: DoubleU Games,
22   https://developers.facebook.com/success-stories/doubleu-games/.
     14
23           DoubleDown Casino Launches the World’s First Social Slot Tournaments on Facebook,
     PRNewswire, https://www.prnewswire.com/news-releases/doubledown-casino-launches-the-
24   worlds-first-social-slot-tournaments-on-facebook-125830673.html (last visited Apr. 16, 2021).
     15 Form F-1/A Doubledown Interactive Co., Ltd., https://sec.report/Document/0001193125-20-

25   183157/.
     16       The Journey From a Single-App to a Multi-App Company,
26   https://youtu.be/PY8gh8M6T20?t=1260 (Joe Sigrist, DoubleDown General Manager: “We track
     our whales”).
27   17       Success Stories: DoubleU Games, Facebook for Developers,
28   https://developers.facebook.com/success-stories/doubleu-games/.
     18       Id.
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 1   app is available.19 Apps may be, and often are, removed at Facebook’s discretion for violating its
 2   policies and can be audited at any time.
 3           55.     Additionally, apps are required to use Facebook Payments to process all in-game
 4   purchases, and Facebook collects a 30 percent service fee off of every transaction. 20 If Facebook
 5   ever discovers an illegal or fraudulent transaction in breach of its Facebook terms or policies, it
 6   can deny developers from redeeming the proceeds in its Developer Balance. 21
 7           56.     A 2019 PBS NewsHour report quotes Facebook executive Julien Codorniou (in
 8   2014) regarding social casinos’ financial potential and acknowledging Facebook’s intentional
 9   role in sharing in the gambling profits 22:
10
                     It's the number one category on Facebook. It's a category that, you know, never
11                   stops growing. Every year, we see new companies out of nowhere coming up with
                     amazing games, amazing IP, launching on Facebook, launching on mobile,
12                   making significant money.
13                   It's very good for gaming companies because they can decide to target on
                     Facebook, or on mobile, you know, specific users, or just the whales.
14

15           57.     That same article also features former top Facebook executive Sam Lessin
16   admitting to Facebook’s knowledge of social casinos’ exploitation of vulnerable consumers. In
17   2012, Lessin emailed Facebook CEO Mark Zuckerberg with his concerns about the predatory
18   and unethical nature of the in-app purchase business model for casino gaming apps. 23 The
19   warning fell on deaf ears:
20                   I mean, it sounds disgusting, right? You know, we're going to have to live in a
                     world where both very, very good people, and very, very bad people have better
21                   tools.24
22
     19
23           Facebook Platform Policy, Facebook for Developers,
     https://developers.facebook.com/policy.
24   20      Payment Terms, Facebook for Developers,
     https://developers.facebook.com/policy/payments_terms.
25   21      Id.
26   22
            Nate Halverson, How social casinos leverage Facebook user data to target vulnerable
     gamblers, PBS NewsHour (Aug. 13, 2019), https://www.pbs.org/newshour/show/how-social-
27   casinos-leverage-facebook-user-data-to-target-vulnerable-gamblers.
     23
28          Id.
     24     Id.
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 1          58.     Unfortunately, Facebook used its developer tools to take advantage of users with
 2   severe gambling problems.
 3          59.     As a result, Facebook has unlawfully made billions of dollars on the backs of
 4   consumers.
 5   III.   California’s Public Policy Against Enforcing Gambling Contracts Means Plaintiffs
            Must Turn to Federal Law to Recover Their Damages.
 6

 7          60.     Under California’s in pari delicto doctrine, California courts generally refuse to
 8   enforce gambling debts or help plaintiffs recover gambling losses, except where a statute confers
 9   a right to bring such claims.
10          61.     California’s in pari delicto doctrine does not bar this Court from issuing an
11   injunction, under California law, enjoining Facebook’s participation in the Social Casino
12   Enterprise.
13          62.     Moreover, federal law—specifically, RICO—confers upon Plaintiffs a right of
14   action, enforceable by this Court, to recover their alleged damages from Facebook.
15                 FACTS SPECIFIC TO PLAINTIFF KATHLEEN WILKINSON
16          63.     Plaintiff Wilkinson has played DoubleDown Casino, through Defendant
17   Facebook, for approximately five years. Plaintiff Wilkinson is addicted to DoubleDown Casino.
18          64.     Plaintiff Wilkinson first started playing DoubleDown Casino after seeing an
19   advertisement on Facebook for the social casino app. Today, Plaintiff Wilkinson plays
20   DoubleDown Casino daily on Facebook for two to three hours per day.
21          65.     Playing DoubleDown Casino through Facebook has had a devastating impact on
22   Plaintiff Wilkinson’s life. In total, Plaintiff Wilkinson has lost at least $50,000 playing
23   DoubleDown Casino. This loss represents a substantial portion of her retirement savings and has
24   placed her entire way of life in jeopardy. Playing the game and its related losses have caused her
25   to suffer from depression, anxiety, and placed a strain on her personal relationships.
26                   FACTS SPECIFIC TO PLAINTIFF NANCY URBANCZYK
27          66.     Plaintiff Urbanczyk started playing DoubleDown Casino, through Defendant
28   Facebook, in 2013. Plaintiff Urbanczyk is addicted to DoubleDown Casino.

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 1            67.    Plaintiff Urbanczyk now plays DoubleDown Casino daily on Facebook for two to
 2   three hours per day.
 3            68.    Playing DoubleDown Casino through Facebook has had a devastating impact on
 4   Plaintiff Urbanczyk’s life. In total, she has lost approximately $240,000 in the app, often buying
 5   as much as $1,000 of chips in a single evening.
 6            69.    As a result of her addiction, Plaintiff Urbanczyk lost her retirement savings, had
 7   to take out a mortgage on her home, and had to find a job at the age of 70.
 8            70.    Plaintiff Urbanczyk’s addiction has put significant strain on her personal
 9   relationships and her mental well-being.
10                     FACTS SPECIFIC TO PLAINTIFF LAURA PERKINSON
11            71.    Plaintiff Perkinson was disabled in an accident several decades ago and has often
12   turned to the internet for social interaction. This eventually led her to social casino apps,
13   including Jackpot Party, which she played through Defendant Facebook.
14            72.    Eventually, and especially after she lost her husband, Plaintiff Perkinson began to
15   play Jackpot Party for four to five hours a day. Plaintiff Perkinson is now addicted to Jackpot
16   Party.
17            73.    Playing Jackpot Party through Facebook has had a devastating impact on Plaintiff
18   Perkinson’s life. In total, she has lost between $10,000 and $20,000 in the Jackpot Party app.
19            74.    Plaintiff Perkinson’s addiction has put significant strain on her personal
20   relationships and her mental well-being and has impacted her ability to even buy food.
21                                        CLASS ALLEGATIONS
22            75.    Class Definition: Plaintiffs bring this action pursuant to Fed. R. Civ. P. 23(b)(2)
23   and (b)(3) on behalf of themselves and a Class of similarly situated individuals, defined as
24   follows:
25
              All persons in the United States who have lost money to any Illegal Slots through
26            the Facebook platform.
27

28

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 1   The following people are excluded from the Class: (1) any Judge or Magistrate presiding over
 2   this action and members of their families; (2) Defendant, Defendant’s subsidiaries, parents,
 3   successors, predecessors, and any entity in which the Defendant or its parents have a controlling
 4   interest and their current or former employees, officers and directors; (3) persons who properly
 5   execute and file a timely request for exclusion from the Class; (4) persons whose claims in this
 6   matter have been finally adjudicated on the merits or otherwise released; (5) Plaintiffs’ counsel
 7   and Defendant’s counsel; and (6) the legal representatives, successors, and assigns of any such
 8   excluded persons.
 9          76.     Numerosity: On information and belief, tens of thousands of consumers fall into
10   the definition of the Class. Members of the Class can be identified through Defendant’s records,
11   discovery, and other third-party sources.
12          77.     Commonality and Predominance: There are many questions of law and fact
13   common to Plaintiffs’ and the Class’s claims, and those questions predominate over any
14   questions that may affect individual members of the Class. Common questions for the Class
15   include, but are not necessarily limited to the following:
16             A.      Whether the Illegal Slots are illegal slot machines as defined by California
17                     Penal Code §330b;
18             B.      Whether Facebook, pursuant to California Penal Code §330.1, is liable for
19                     having the Illegal Slots in its management, possession, or control;
20             C.      Whether Facebook should be enjoined from further participation in the Social
21                     Casino Enterprise;
22             D.      Whether Facebook is a participant in the Social Casino Enterprise; and
23             E.      Whether Facebook has committed illegal predicate acts under the Racketeer
24                     Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961, et seq.
25          78.     Typicality: Plaintiffs’ claims are typical of the claims of other members of the
26   Class in that Plaintiffs and the members of the Class sustained damages arising out of
27   Defendant’s wrongful conduct.
28

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 1          79.    Adequate Representation: Plaintiffs will fairly and adequately represent and
 2   protect the interests of the Class and have retained counsel competent and experienced in
 3   complex litigation and class actions. Plaintiffs’ claims are representative of the claims of the
 4   other members of the Class, as Plaintiffs and each member of the Class lost money playing the
 5   Illegal Slots. Plaintiffs also have no interests antagonistic to those of the Class, and Defendant
 6   has no defenses unique to Plaintiffs. Plaintiffs and their counsel are committed to vigorously
 7   prosecuting this action on behalf of the Class and have the financial resources to do so. Neither
 8   Plaintiffs nor their counsel have any interest adverse to the Class.
 9          80.    Policies Generally Applicable to the Class: This class action is appropriate for
10   certification because Defendant has acted or refused to act on grounds generally applicable to
11   the Class as a whole, thereby requiring the Court’s imposition of uniform relief to ensure
12   compatible standards of conduct toward the members of the Class and making final injunctive
13   relief appropriate with respect to the Class as a whole. Defendant’s policies that Plaintiffs
14   challenge apply and affect members of the Class uniformly, and Plaintiffs’ challenge of these
15   policies hinges on Defendant’s conduct with respect to the Class as a whole, not on facts or law
16   applicable only to Plaintiffs. The factual and legal bases of Defendant’s liability to Plaintiffs
17   and to the other members of the Class are the same.
18          81.    Superiority: This case is also appropriate for certification because class
19   proceedings are superior to all other available methods for the fair and efficient adjudication of
20   this controversy. The harm suffered by the individual members of the Class is likely to have
21   been relatively small compared to the burden and expense of prosecuting individual actions to
22   redress Defendant’s wrongful conduct. Absent a class action, it would be difficult for the
23   individual members of the Class to obtain effective relief from Defendant. Even if members of
24   the Class themselves could sustain such individual litigation, it would not be preferable to a
25   class action because individual litigation would increase the delay and expense to all parties and
26   the Court and require duplicative consideration of the legal and factual issues presented. By
27   contrast, a class action presents far fewer management difficulties and provides the benefits of
28   single adjudication, economy of scale, and comprehensive supervision by a single Court.

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 1   Economies of time, effort, and expense will be fostered and uniformity of decisions will be
 2   ensured.
 3          82.     Plaintiffs reserve the right to revise each of the foregoing allegations based on
 4   facts learned through additional investigation and in discovery.
 5
                                              COUNT I
 6                     Cal. Business and Professions Code § 17200, et seq. (UCL)
                                      Unlawful Business Practices
 7                                     (Injunctive Relief Only)
 8          83.     Plaintiffs incorporate the foregoing allegations as if fully set forth herein.
 9          84.     Plaintiffs have suffered injury in fact and have lost money or property as a result
10   of Facebook’s allegedly unlawful conduct.
11          85.     The Illegal Slots are illegal slot machines as defined by Cal. Penal Code 330b(d)
12   because, among other reasons, when a player purchases and wagers virtual casino chips in the
13   Illegal Slots, a winning spin affords the player an “additional chance or right to use” the Illegal
14   Slots. Pursuant to Cal. Penal Code 330b(a), Defendant Facebook, among other violative
15   conduct, manufactures, repairs, owns, stores, possesses, sells, rents, leases, lets on shares, lends
16   and gives away, transports, and expose for sale or lease, the Illegal Slots. Facebook also offers
17   to repair, sells, rents, leases, lets on shares, lends and gives away, permit the operations,
18   placement, maintenance, and keeping of, in places, rooms, spaces, and buildings owned, leased,
19   or occupied, managed, or controlled by Facebook, the Illegal Slots.
20          86.     The Illegal Slots are illegal slot machines as defined by Cal. Penal Code 330.1
21   because, among other reasons, when a player purchases and wagers virtual casino chips in the
22   Illegal Slots, a winning spin affords the player an “additional chance or right to use” the Illegal
23   Slots. Pursuant to Cal. Penal Code 330.1(a), Defendant Facebook, among other violative
24   conduct, manufactures, owns, stores, keeps, possesses, sells, rents, leases, lets on shares, lends
25   and gives away, transports, and exposes for sale and lease, the Illegal Slots. Facebook also
26   offers to sell, rent, lease, let on shares, lends and gives away and permits the operation of and
27   permits to be placed, maintained, used, or kept in rooms, spaces, and building owned, leased, or
28   occupied by Facebook or under Facebook’s management and control, the Illegal Slots.

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 1          87.    California’s Unfair Competition Law (“UCL”), Business and Professions Code §
 2   17203, specifically authorizes this Court to issue injunctive relief to enjoin ongoing acts of
 3   unfair competition and unlawful conduct.
 4          88.    Under the UCL, unfair competition encompasses any unlawful act, including acts
 5   made unlawful under the penal code and acts made unlawful by federal law.
 6          89.    Consequently, the UCL authorizes this Court to enjoin Facebook’s ongoing
 7   violations of Sections 330b and 330.1 of the California Penal Code, as well as violations of the
 8   federal RICO law.
 9          90.    Plaintiffs, on behalf of themselves and the Class, seek an order from the Court,
10   enjoining Facebook from further participation in the Social Casino Enterprise.
11                                            COUNT II
                                     18 U.S.C. § 1962(c) (RICO)
12                     Racketeering Activities and Collection of Unlawful Debts
                                  (Damages and Injunctive Relief)
13

14          91.    Plaintiffs incorporate by reference the foregoing allegations as if fully set forth
15   herein.
16          92.    At all relevant times, Facebook is and has been a “person” within the meaning of
17   18 U.S.C. § 1961(3), because it is capable of holding, and does hold, “a legal or beneficial
18   interest in property.”
19          93.     Plaintiffs are each a “person,” as that term is defined in 18 U.S.C. § 1961(3), and
20   have standing to sue as they were injured in their business and/or property as a result of the
21   Social Casino Enterprise’s wrongful conduct described herein, including but not limited to
22   Defendant Facebook, the Platforms, and the Illegal Slots (1) having unlawfully taken and
23   received money from Plaintiffs and the Class; (2) having never provided Plaintiffs and members
24   of the Class a fair and objective chance to win—they could only lose; and (3) having directly
25   and knowingly profited from, on information and belief, rigged and manipulated slot machines.
26          94.    Section 1962(c) makes it unlawful “for any person employed by or associated
27   with any enterprise engaged in, or the activities of which affect, interstate or foreign commerce,
28

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 1   to conduct or participate, directly or indirectly, in the conduct of such enterprise's affairs
 2   through a pattern of racketeering activity or collection of unlawful debt.” 18 U.S.C. § 1962(c).
 3            95.    18 U.S.C. § 1961(1) defines “racketeering activity” to include (i) “ any act …
 4   involving … gambling … which is chargeable under State law and punishable by imprisonment
 5   for more than one year;” (ii) any act which is indictable under Title 18, Section 1084 of the
 6   United States Code (relating to the transmission of gambling information); and (iii) any act
 7   which is indictable under Title 18, Section 1955 of the United States Code (relating to the
 8   prohibition of illegal gambling businesses).
 9            96.    Because illegal gambling is indictable under California law and punishable by
10   imprisonment for more than one year, and further because illegal gambling is indictable under
11   both Section 1084 and Section 1955 of Title 18 of the United States Code, the Social Enterprise
12   is engaged in “racketeering activity.”
13            97.    18 U.S.C. § 1961(6) defines “unlawful debt” as a debt “(A) incurred or contracted
14   in gambling activity which was in violation of the law of the United States, a State or political
15   subdivision thereof,” and “(B) which was incurred in connection with the business of gambling
16   in violation of the law of the United States, a State or political subdivision thereof.”
17            98.    Because the Social Casino Enterprise collects debts incurred from a gambling
18   activity in violation of California law, described herein, its profits derived from its ownership
19   and maintenance constitute “unlawful debt” as defined in Section 1961(6).
20            99.    Facebook violated 18 U.S.C. § 1962(c) and § 1962(d) by participating in,
21   facilitating, or conducting the affairs of the Social Casino Enterprise through a pattern of
22   racketeering activity composed of indictable offenses under California Penal Code §§ 330b and
23   330.1.
24            100.   The affiliation between Defendant Facebook, the other Platforms, and the Illegal
25   Slots constitutes a conspiracy to use an enterprise for the collection of unlawful debt in violation
26   of 18 U.S.C. § 1962(d).
27

28

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 1                                        Social Casino Enterprise
 2          101.     RICO defines an enterprise as “any individual, partnership, corporation,
 3   association, or other legal entity, and any union or group of individuals associated in fact
 4   although not a legal entity.” 18 U.S.C. § 1961(4).
 5          102.    Under 18 U.S.C. § 1961(4) a RICO “enterprise” may be an association-in-fact
 6   that, although it has no formal legal structure, has (i) a common purpose, (ii) relationships among
 7   those associated with the enterprise, and (iii) longevity sufficient to pursue the enterprise’s
 8   purpose. See Boyle v. United States, 556 U.S. 938, 946 (2009).
 9          103.    The Social Casino Enterprise is an association-in-fact composed of Facebook,
10   Apple, Google, and the Illegal Slot companies who are engaged in and whose activities affect
11   interstate commerce, and which have affected and damaged interstate commercial activity. This
12   Enterprise exists separately from the otherwise legitimate businesses operations of each
13   individual participant.
14          104.    The pattern of racketeering activity conducted by the members of the Social
15   Casino Enterprise is distinct from the Social Casino Enterprise itself, as each act of racketeering
16   is a separate offense committed by an entity while the Social Casino Enterprise itself is an
17   association-in-fact of legal entities. The Social Casino Enterprise has an informal structure of app
18   developers and platforms with continuing functions or responsibilities.
19          105.    For approximately a decade, the Social Casino Enterprise has collaborated
20   together to target and retain high-spending users in their online gambling scheme throughout the
21   country. At the very latest, following the Ninth Circuit’s March 28, 2018, holding in Kater,
22   Defendant Facebook and the other Platforms, on information and belief, mutually agreed to
23   continue their Enterprise through their ongoing collection of unlawful debts, functioning as a
24   cohesive unit with the purpose of gaining illicit gambling profits.
25                                Structure of the Social Casino Enterprise
26          106.    The Social Casino Enterprise consists of dozens of Illegal Slot companies and the
27   Platforms (Facebook, Apple and Google). Each participant agreed to conduct and carry out the
28   affairs and goals of the Social Casino Enterprise:

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 1             A. The Illegal Slot companies agreed to conduct the affairs of the Social Casino
 2   Enterprise by developing, updating and operating the illegal slot machines: the “gambling
 3   devices.” The Illegal Slot companies operate as the principals, forming the necessary business
 4   partnerships with Facebook, Apple and Google for the successful execution of their unlawful
 5   gambling scheme. The Illegal Slot companies fundamentally rely on the Platforms to host their
 6   games, access consumers, and collect revenue. Upon constructive notice of the unlawful nature
 7   of the virtual social gambling applications, the Illegal Slot companies agreed with all Enterprise
 8   participants to uphold their roles in the Social Casino Enterprise and to continue functioning as a
 9   single unit with the common purpose of collecting unlawful debts from online gambling activity.
10             B. Facebook, Apple and Google agreed to conduct the affairs of the Social Casino
11   Enterprise by serving as the gambling premises, hosting the virtual social gambling applications,
12   and processing all in-app transactions in exchange for a share in the gamblers’ losses.
13   Additionally, upon notice of the unlawful nature of the virtual social gambling applications,
14   Facebook, Apple, and Google agreed with all participants to uphold their roles in the Social
15   Casino Enterprise and to continue functioning as a single unit with the common purpose of
16   collecting unlawful debts from online gambling activity.
17          107.    At all relevant times, each Social Casino Enterprise participant was aware of the
18   conduct of the Social Casino Enterprise, was a knowing and willing participant in that conduct,
19   and reaped profits from that conduct through in-app sales.
20          108.    The persons engaged in the Social Casino Enterprise are systematically linked
21   through contractual relationships, financial ties, and continuing coordination of activities.
22          109.    All members of the Social Casino Enterprise coordinate and maintain their
23   respective roles in order to enrich themselves and to further the common interests of the whole.
24          110.    Each Social Casino Enterprise participant participated in the operation and
25   management of the Social Casino Enterprise by directing its affairs as described herein.
26          111.    The wrongful conduct of the Social Casino Enterprise has been and remains part
27   of the Social Casino Enterprise’s ongoing way of doing business and constitutes a continuing
28   threat to the Plaintiffs’ and the Class’s property. Without the repeated illegal acts and intentional

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 1   coordination between all participants, the Social Casino Enterprise’s scheme would not have
 2   succeeded and would not pose a threat to Plaintiffs and the Class into the future.
 3                                     Pattern of Racketeering Activity
 4           112.   The affairs of the Social Casino Enterprise were conducted in such a way to form
 5   a pattern of racketeering activity. The Social Casino Enterprise’s general pattern of activity
 6   consists of designing and operating illegal internet-based slot machines and repeatedly violating
 7   public policy against gambling by:
 8             A. Developing illegal slot machine games and disguising them as innocuous video
 9                  game entertainment;
10             B. Distributing and operating illegal slot machine games that are, on information and
11                  belief, rigged and manipulated;
12             C. Concealing the scope and deceptive nature of their gambling applications despite
13                  knowledge of their predatory design and business model;
14             D. Providing a host platform to house unlicensed gambling activity;
15             E. Injuring the public interest by continuously advertising to and soliciting the general
16                  public to play illegal slot machines;
17             F. Conspiring to uphold the Social Casino Enterprise; and
18             G. Unjustly collecting unlawful debts and retaining the profits from their illegal social
19                  gambling applications.
20           113.   The Social Casino Enterprise has operated as a continuous unit since at least
21   2010.
22           114.   Pursuant to and in furtherance of their fraudulent scheme, Facebook committed
23   multiple predicate act violations of California law as previously alleged herein, including
24   violations of California Penal Code §§ 330b and 330.1.
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                                           COUNT III
 1                                       RICO § 1962(d)
          Conspiracy to Engage in Racketeering Activities and Collection of Unlawful Debts
 2                                (Damages and Injunctive Relief)
 3             115.     Plaintiffs incorporate by reference the foregoing allegations as if fully set forth
 4   herein.
 5             116.     18 U.S.C. § 1962(d) states that “[i]t shall be unlawful for any person to conspire
 6   to violate any of the provisions of subsection (a), (b), or (c) of this section.”
 7             117.     As described throughout, and in detail in Count II, even if it did not direct or
 8   manage the affairs of the Social Casino Enterprise, Facebook conspired to commit predicate acts
 9   in violation of § 1962(c), including violations of California Penal Code §§ 330b and 330.1.
10             118.     Defendant Facebook acted knowingly at all times when agreeing to conduct the
11   activities of the Social Casino Enterprise. Facebook agreed to and indeed did participate in the
12   requisite pattern of racketeering activity which constitutes this RICO claim, collected unlawful
13   debts, engaged in racketeering activities, and intentionally acted in furtherance of the conspiracy
14   by conducting the pattern of racketeering and unlawful debt collection as described above.
15             119.     At the very latest, Facebook had notice of the illegality of the Social Casino
16   Enterprise as of the Ninth Circuit’s 2018 holding in Kater. Facebook’s post-Kater participation
17   in the Social Casino Enterprise demonstrates its commitment to upholding and operating the
18   structure of the Social Casino Enterprise.
19             120.     As a result of Facebooks’ conduct, Plaintiffs and Members of the Class were
20   deprived of money and property that they would not otherwise have lost.
21             121.     Under 18 U.S.C. § 1964(c), the Class is entitled to treble their damages, plus
22   interest, costs, and reasonable attorneys’ fees.
23                                           PRAYER FOR RELIEF
24             Plaintiffs Kathleen Wilkinson, Nancy Urbanczyk, and Laura Perkinson, individually and
25   on behalf of all others similarly situated, respectfully request that this Court enter an Order:
26             a)       Certifying this case as a class action on behalf of the Class defined above,
27   appointing Kathleen Wilkinson, Nancy Urbanczyk, and Laura Perkinson as representatives of the
28   Class, and appointing their counsel as Class Counsel;

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 1          b)       Declaring that Defendant’s conduct, as set out above, is unlawful under the UCL;
 2          c)       Declaring that Defendant’s conduct, as set out above, constitutes racketeering
 3   activities, collection of unlawful debts, and conspiracy to engage in the same;
 4          d)       Entering judgment against Defendant Facebook, in the amount of the losses
 5   suffered by Plaintiffs and each member of the Class;
 6          e)       Enjoining Defendant from continuing the challenged conduct;
 7          f)       Awarding damages to Plaintiffs and the Class members in an amount to be
 8   determined at trial, including trebling as appropriate;
 9          g)       Awarding restitution to Plaintiffs and Class members in an amount to be
10   determined at trial;
11          h)       Requiring disgorgement of all of Defendant Facebook’s ill-gotten gains;
12          i)       Awarding reasonable attorneys’ fees and expenses;
13          j)       Awarding pre- and post-judgment interest, to the extent allowable;
14          k)       Requiring injunctive and/or declaratory relief as necessary to protect the interests
15   of Plaintiffs and the Class; and
16          l)       Awarding such other and further relief as equity and justice require, including all
17   forms of relief provided for under the UCL and RICO.
18                                            JURY DEMAND
19          Plaintiffs request a trial by jury of all claims that can be so tried.
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21                                                  Respectfully Submitted,
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                                                    KATHLEEN WILKINSON, NANCY
23                                                  URBANCZYK, and LAURA PERKINSON,
                                                    individually and on behalf of all others similarly
24                                                  situated,
25   Dated: April 16, 2021                          By: /s/ Todd Logan
                                                           One of Plaintiffs’ Attorneys
26

27
                                                    Rafey S. Balabanian (SBN 315962)
28                                                  rbalabanian@edelson.com
                                                    Todd Logan (SBN 305912)
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 5                                       Counsel for Plaintiffs and the Proposed Class
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